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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

 SARAH CONNER, individually and on
 behalf of all others similarly situated,

                Plaintiff,                             Case No. 3:21-cv-01463-SMY

        v.                                             Hon. Judge Staci M. Yandle

 ABBOTT LABORATORIES INC.,

                Defendant.


                STIPULATED MOTION TO DISMISS WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii), Plaintiff Sarah Conner and Defendant Abbott

Laboratories Inc. (collectively, the “Parties”), through counsel, hereby stipulate and agree to

dismiss all claims asserted and that could have been asserted in this action, with prejudice, with

each Party to bear their own attorneys’ fees, expenses, and costs. The Parties further stipulate and

jointly move the Court for entry of the [Proposed] Order Granting Stipulated Motion to Dismiss

with Prejudice, which has been approved as to form by the Parties and has been filed

simultaneously herewith.

       DATED September 8, 2023

                                                     Respectfully submitted,


                                                     _/s/ Spencer Sheehan___________
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                                                     Attorney for Plaintiff Sarah Conner
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

 SARAH CONNER, individually and on
 behalf of all others similarly situated,

                Plaintiff,                             Case No. 3:21-cv-01463-SMY

        v.                                             Hon. Judge Staci M. Yandle

 ABBOTT LABORATORIES INC.,

                Defendant.


                        [PROPOSED ORDER] GRANTING
                STIPULATED MOTION TO DISMISS WITH PREJUDICE

       Before the Court is the Parties’ Stipulated Motion to Dismiss with Prejudice. Pursuant to

the stipulation of the Parties and for good cause appearing, IT IS HEREBY ORDERED that the

Parties’ Stipulated Motion to Dismiss with Prejudice is GRANTED. All claims and causes of

action alleged in the above-captioned suit are hereby dismissed with prejudice, each Party to bear

their own costs, expenses, and attorneys’ fees incurred herein.

       DATED this __ day of _______, 2023.


                                                     BY THE COURT

                                                     ______________________________
                                                     Judge Staci M. Yandle




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